     Case 21-13887-VFP         Doc 20    Filed 07/07/21 Entered 07/07/21 17:41:02                 Desc Main
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Marie-Ann Greenberg MAG-1284
Chapter 13 Standing Trustee
30 TWO BRIDGES ROAD                                                      Order Filed on July 7, 2021
SUITE 330                                                                by Clerk
FAIRFIELD, NJ 07004-1550                                                 U.S. Bankruptcy Court
                                                                         District of New Jersey
973-227-2840

                                                           Case No.: 21-13887 VFP
IN RE:
  TINA M. CONTE                                            Hearing Date: 7/1/2021

                                                           Judge: VINCENT F. PAPALIA


                                                           Debtor is Entitled To Discharge

                                  AMENDED ORDER CONFIRMING PLAN

  The relief set forth on the following pages, numbered 2 through 2 is hereby ORDERED.




      DATED: July 7, 2021
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 Debtor(s): TINA M. CONTE                      Document Page 2 of 2

 Case No.: 21-13887 VFP
 Caption of Order:     AMENDED ORDER CONFIRMING PLAN

        The Plan of the Debtor having been proposed to creditors, and hearing having been held on the Confirmation
of such Plan, and it appearing that the applicable provisions of the Bankruptcy Code have been complied with ; and for
good cause shown, it is
    ORDERED, that the plan of the above named Debtor dated 5/11/2021, or as amended at the confirmation hearing
    is hereby confirmed. The Standing Trustee shall make payments in accordance with 11 U.S.C. § 1326 with funds
    received from the Debtor; and it is further
    ORDERED, that to the extent that the Debtor’s plan contains motions to avoid judicial liens under 11 U .S.C.
    Section 522(f) and/or to avoid liens and reclassify claims in whole or in part, such motions are hereby granted,
    except as specified herein:
    ORDERED, that commencing 6/1/2021, the Debtor shall pay the Standing Trustee
        the sum of $530.00 for a period of 60 month(s), which payments shall include commission and expenses of
        the Standing Trustee in accordance with 28 U.S.C. § 586. The unsecured creditors shall receive on a pro rata
        basis, the balance remaining from the payments set forth in this paragraph, after payment of all
        administrative, priority & secured claims (i.e., Pot Plan); and it is further
    ORDERED, that upon completion of the plan, affected secured creditors shall take all steps necessary to remove
    of record any lien or portion of any discharged; and it is further

     ORDERED, that upon expiration of the Deadline to File a Proof of Claim, the Chapter 13 Standing Trustee may
     submit an Amended Order Confirming Plan upon notice to the Debtor, Debtor's attorney and any other party
     filing a Notice of Appearance.
